
PER CURIAM.
We grant appellant's counsel's motion to withdraw pursuant to Jimenez v. Department of Health and Rehabilitative Services, 669 So.2d 340 (Fla. 3d DCA 1996).
Further, upon consideration of the initial brief, and finding no preliminary basis for reversal has been demonstrated, the order below is summarily affirmed pursuant to Florida Rule of Appellate Procedure 9.315(a). See Soro v. Soro, 145 So.3d 183 (Fla. 3d DCA 2014) ; Fla. Detroit Diesel v. Nathai, 28 So.3d 182 (Fla. 1st DCA 2010) ("[W]e conclude that the appellants' initial brief fails to demonstrate a preliminary basis for reversal and we therefore summarily affirm the order without the need for an answer brief.").
Affirmed.
